     Case 22-10450-RG            Doc 143       Filed 04/24/23 Entered 04/24/23 10:08:45          Desc Main
                                              Document      Page 1 of 3

   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Caption in Compliance with D.N.J. LBR 9004-1(b)

   SCURA, WIGFIELD HEYER,                                                   Order Filed on April 24, 2023
                                                                            by Clerk
   STEVENS & CAMMAROTA, LLP                                                 U.S. Bankruptcy Court
   1599 Hamburg Turnpike                                                    District of New Jersey
   Wayne, New Jersey 07470
   Tel.: 973-696-8391
   David L. Stevens
   Dstevens@scura.com
   Counsel for Debtor


                                                                Case No.:      22-10450
   In Re:
   Bruce A. Piekarsky                                           Hearing Date: April 19, 2023

                                                                Chapter:      13

                                                                Judge:        Rosemary Gambardella


                                             ORDER AUTHORIZING
                                           SALE OF REAL PROPERTY



                 Recommended Local Form:              ‫܆‬Followed                   ‫܈‬Modified




              The relief set forth on the following pages numbered two (2) and three (3), is
              ORDERED.



DATED: April 24, 2023




            After review of the Debtor’s motion for authorization to sell the real property commonly
Case 22-10450-RG        Doc 143      Filed 04/24/23 Entered 04/24/23 10:08:45              Desc Main
                                    Document      Page 2 of 3


known as 250 Gorge Road, Apt. 8J, Cliffside Park, New Jersey (the "Cliffside Park Property")
and 9129 SW 20th Place, Unit C, Fort Lauderdale, Florida (the "Florida Property").

IT IS hereby ORDERED as follows:

1. The Debtor is authorized to sell the Real Property on the terms and conditions of the contract
of sale pursuant to 11 U.S.C. §§ 363(b) and 1303.

2. The proceeds of sale must be used to satisfy the liens on the real property unless the liens are
otherwise avoided by court order. Until such satisfaction the real property is not free and clear of
liens.

3. ‫܈‬In accordance with D.N.J. LBR 6004-5, the Notice of Proposed Private Sale included a
request to pay the real estate broker and/or debtor’s real estate attorney at closing. Therefore the
following professional(s) may be paid at closing.

 Name of professional: Michael A. Parker

 Amount to be paid: $25,200.00

 Services rendered: Time invested in bringing sale to realization, actual costs of marketing the
 property.




OR: ‫ ܆‬Sufficient funds may be held in escrow by the Debtor’s attorney to pay real estate
broker’s commissions and attorney’s fees for the Debtor’s attorneys on further order of this
court.

4. Other closing fees payable by the Debtor may be satisfied from the proceeds of sale and
adjustments to the price as provided for in the contract of sale may be made at closing.

5. The amount of $25,150.00 from the Debtor’s share in the net sale proceeds and claimed as
exempt may be paid to the Debtor.



                                                  2
  Case 22-10450-RG         Doc 143      Filed 04/24/23 Entered 04/24/23 10:08:45            Desc Main
                                       Document      Page 3 of 3


   6. The ‫ ܆‬balance of proceeds or the ‫ ܆‬balance due on the debtor’s Chapter 13 Plan must be
   paid to the Chapter 13 Trustee in the Debtor’s case.

   7. A copy of the HUD settlement statement must be forwarded to the Chapter 13 Trustee 7 days
   after closing.

   8. ‫ ܆‬The debtor must file a modified Chapter 13 Plan not later than 21 days after the date of this
   order.

   9. Other provisions:
The Debtor’s 50% interest in the net sale proceeds from the Cliffside Property in addition to
$103,565.31 from Debra Piekarsky’s share of the net sale proceeds shall be paid to the Chapter 13
Trustee in the Debtor’s case and paid to General Unsecured Creditors, less applicable trustee fees.

An additional $10,000.00 of Debra Piekarsky’s portion of the net sale proceeds of the Cliffside
Property shall be transmitted to and held by Debtor’s counsel in trust pending application for
compensation and approval of same.

In consideration of the $103,565.31 from Debra Piekarsky’s share of the net sale proceeds paid to the
Standing Chapter 13 Trustee for the funding of the Debtor’s Chapter 13 Plan, Debtor is authorized
and directed to immediately transfer his interest in the Florida Property to Debra Piekarsky.
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GLVEXUVHd DVGLUHFWHG E\KHU

The sale of the Debtor's interest in the Florida Property is NOT free and clear of liens and subject to
all liens and encumbrances as existed immediately prior to entry of this order, including the
mortgage liens held by the Bank of New York Mellon fka The Bank of New York, Trustee on
behalf of the note holders of the CWHEQ Inc., CWHEQ Revolving Home Equity Loan Trust,
Series 2007-G and that of Carrington Mortgage Services, LLC (being the same mortgage lien held
by Bank of America, N.A. as of the date the petition in this case was filed and evidenced by Claim
12-1 in the claims register of this case). Bank of New York Mellon and Carrington Mortgage
Services will not be paid at closing and their liens remain unaffected by the transfer from the Debtor
to Debra Piekarsky with all rights and remedies preserved.

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All liens and assessments affecting title to the Cliffside Park Property are to paid in full pursuant to
a payoff quote valid through the date of closing.

The stay of this order under R. 6004(h) is waived. This order is effective immediately upon entry.
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